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                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE NORTHERN DISTRICT OF ILLINOIS

                                     EASTERN DIVISION


 EDELSON PC, an Illinois Professional          )
 corporation,                                  )       Case No.:
                                               )       20-cv-07115
        Plaintiff,                             )
                                               )
 THOMAS GIRARDI, an individual, et             )
 al.,                                          )       Honorable Matthew F. Kennelly
                                               )
        Defendants.                            )
                                               )
                                               )


         DEFENDANT DAVID LIRA’S AMENDED NOTICE OF COMPLIANCE
                    WITH DOCKET ORDERS 139 AND 145


TO THIS HONORABLE COURT:
       On April 5, 2020, this Court ordered Mr. Lira to file a complete version of his motion for

summary judgment under seal and a redacted version to be filed in the public record. [Docket

No. 139.] Today, this Court ordered Defendant Lira to comply with the Court’s April 5, 2022

Order with respect to filing a complete version under seal, including all exhibits, of Lira’s

summary judgment motion. [Docket No. 145.]

       After today’s Order, Mr. Lira filed a complete version of the motion for summary

judgment. It was inadvertently not filed under seal. [Docket No. 148.] The error was

immediately caught, and brought to the Court’s attention. The motion was then sealed by the

Clerk. Counsel for Mr. Lira has confirmed that the summary judgment motion filed today

pursuant to the Court’s Order is no longer accessible to the public. Mr. Lira’s counsel apologizes

for any misunderstanding of this Court’s April 5, 2022 Order, and the inadvertent filing (not


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under seal) of the summary judgment motion on this date.



                                                                DAVID LIRA

                                                             /s/ Edith R. Matthai
                                                  By:   __________________________
                                                               His Attorney

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                                CERTIFICATE OF SERVICE
       I hereby certify that on April 13, 2022, I electronically filed the foregoing document with
the Clerk of Court, using CM/ECF. I also certify that the foregoing document is being served this
day on all counsel of record via transmission of Notices of Electronic Filing generated by
CM/ECF.


                                                 /s/ Edith R. Matthai




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